Case 2:02-cv-OOOiO-PGC Document 189 Filed 06/1'IYO4 Page 1 of 2

' “¥_l"!iiil l§LE.F.i'\
lt cb F\LED

inn tim ii F’ 5" m

c. RicHARD HENRiKsEN, JR., #1466 w 3 t »:;§ ;i

JAMES E. SEAMAN, #8750 `ij_';?_§’...l»-`\ ‘\==`

AARON W. FLATER #9458

HENR|KSEN & HENR|KSEN, P.C.

AttOrneyS for Defendants Sue Scheff, PURE, lnc. and PURE Foundation, lnc. and Jeff Berryman
320 South 500 East

Sa|t Lake Cityl Utah 84102

Te|ephone: (801) 521-4145

Facsimi|e: (801) 355-0246

 

UN|TED STATES DISTR|CT COURT

FOR THE DlSTR|CT OF UTAH, CENTRAL DlV|S|ON

 

Wor|d Wide Association of Specia|ty ) MOT|ON |N L|M|NE TO
Programs, a Utah Corporation, : EXCLUDE PERSONAL |NFORMAT|ON
) ABOUT JEFF BERRYMAN’S
P|aintiff, : HEALTH AND FAM|LY
)
v. '

')
PURE, |nc., PURE Foundation, lnc. '

Sue Scheff, Jeff Berryman, Barbe )
Stamp, Donna Hedrick and Does | .
through 10, ) Case Number:2:02-cv-00010PGC
: Judge Paul G. Casse|l
Defendants. )

 

COMES NOW, Sue Scheff, PURE and Jeff Berryman by and through counsel and
respectfully Submits this |V|otion in Limine to Exc|ude Persona| |nformation About Jetf
Berryman’s Hea|th and Fami|y. This motion is brought because P|aintitf has sought
discovery and has documents discussing irrelevant and private confidential information

about Jeff Berryman’s health and family and the introduction of that evidence may

 

Case 2:O2-cv-OOO~10-PGC Document 189 Filed 06/11'/04 Page 2 of 2

prejudice the jury against the Defendants. This motion is brought pursuant to Ru|es 402
and 403 of the Federa| Ru|es of Civii. Procedure. This motion is supported by the attached

Memoranc|um in Support of Nlotion |n Limine and attachments

A
Respectfu|iy submitted this 4 /t’day of June, 2004.

Aaron W. F|ater
Attorney for Defendants

CERT|F|CATE OF HAND DEL|VERY
4
| hereby certify that on this g /f_"'day of June 2004, a true and correct copy of

the foregoing MOT|ON |N L|M|NE TO EXCLUDE PERSONAL |NFORMAT|ON JEFF
BERRVMAN’S HEALTH AND FAM|LY, was hand delivered, to the following:

Fred R. Si|vester

Dennis J. Conroy

Spencer Siebers

S|LVESTER & CONROY`, L.C.
Attorneys for P|aintiff

230 South 500 East, Suite 590
Salt Lake City, Utah 84102

¢Mzaa-

 

